Case 1:04-cv-Ol290-.]DT-de Document 22 Filed 08/19/05 Page 1 of 2 Page~t;_§g;£?

05 @1»-
4(/
lN THE UNITED STATES DISTRICT COURT f s 0/.9 §

FOR THE WESTERN DISTRICT oF TENNEssEE ;a/ _”¢/a_

 

     

EASTERN DlvisloN sits u` ,, ~,:
TERRY L. CHARLTON, )
Plaintiff, §
Vs. § No. 04-1290-T/An
TENNESSEE DEPARTMENT OF §
CORRECTION, ET AL., )
Defendants. §

 

ORDER DENYING MOTION FOR EXTENSION OF TIME AS l\/[OOT

 

On August ll, 2005, plaintiff filed a motion seeking an extension of time to respond
to the pending motion to dismiss. However, on August 15, 2005, plaintiff filed a motion to
“void” the motion for extension of time, stating that he overlooked the fact that a response
to the motion to dismiss has already been filed. The Court granted the motion to “void” on
August 16, 2005. Therefore, the motion for an extension of time is DENIED as moot.

lT lS SO ORDERED.

nw

. TODD
STATES DISTRICT JUDGE

/? CZM (9”~"'

DATE ' °

 

  

Thls document entered on the docket sheet ln compliance
with Rule 58 and.-'or,?Q (a) FRCP on ` f

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case l:04-CV-01290 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

ESSEE

 

Terry L. Charlton

WH[TEVILLE CORRECTIONAL FACILITY
102704

P.O. Box 679

Whiteville, TN 38075

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son, TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son, TN 38305

Kimberly J. Dean

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Gustavus A. Puryear

CORRECTIONS CORPORATION OF AMERICA
Burton Hills Blvd.

Nashville, TN 3721 5

Honorable J ames Todd
US DISTRICT COURT

